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Eleanor A. DuBay, OSB #073755
Email: edubay@tomasilegal.com
Tomasi Salyer Martin
121 SW Morrison Street, Suite 1850
Portland, Oregon 97204-3136
Telephone: (503) 894-9900
Facsimile: (971) 544-7236
       Attorneys for Defendant




                                   UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                        PORTLAND DIVISION


TIFFANY HOPKINS,                                       Case No. 3:18-cv-01960-BR

                    Plaintiff,
                                                       DEFENDANT'S MOTION TO COMPEL
           v.                                          ARBITRATION AND STAY ACTION

CITIBANK, N.A.,

                    Defendant.


                                 LR 7.1 CERTIFICATE OF COMPLIANCE
                    Pursuant to L.R. 7.1, Defendant Citibank, N.A. ("Defendant"), has made a good

faith effort to confer with Plaintiff's counsel regarding this Motion.

                         MEMORANDUM OF POINTS AND AUTHORITIES

I.         INTRODUCTION
                    By the instant Motion, defendant Citibank, N.A. ("Citibank") seeks to compel

arbitration of the claims asserted by plaintiff Tiffany Hopkins ("Plaintiff") regarding alleged

attempts to collect debts owed by Plaintiff on multiple Citibank credit card accounts. After

                                                                                      TOMASI SALYER MARTIN
Page 1 -        DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                    Attorneys at Law
CITI-L20\00442442.000                                                              121 SW Morrison Street, Suite 1850
                                                                                        Portland, Oregon 97204
                                                                                       Telephone: (503) 894-9900
                                                                                       Facsimile: (971) 544-7236
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Plaintiff failed to pay the balances owed on her accounts, Citibank attempted to contact her

regarding the debt. Based on calls Plaintiff received, she asserts claims for violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., and Or. Rev. Stat. 646.639, et

seq., as well as for intrusion upon seclusion. Regardless of their merits (or lack thereof),

Plaintiff's claims must be arbitrated pursuant to the binding arbitration agreement (the

"Arbitration Agreement") between Plaintiff and Citibank contained in the credit card agreements

governing Plaintiff's Citibank credit card accounts.

                  The Arbitration Agreement is valid and enforceable under South Dakota law

(which applies here pursuant to the choice-of-law provision in the underlying card agreement)

and encompasses Plaintiff's claims.        By its terms, the Arbitration Agreement broadly

encompasses "any claim, dispute, or controversy" between Plaintiff and Citibank "arising from

or relating to" her Account and/or relationship with Citibank. Finally, the Arbitration Agreement

must be enforced pursuant to the Federal Arbitration Act, 9 U.S.C. § 1, et seq. ("FAA"). Indeed,

the FAA mandates a liberal policy favoring the enforcement of arbitration agreements and

requires that any doubts regarding whether a dispute is subject to arbitration be resolved in favor

of arbitration. The United States Supreme Court has made absolutely clear that arbitration

agreements governed by the FAA must be enforced as written. See AT&T Mobility LLC v.

Concepcion, 563 U.S. 333, 336, 131 S. Ct. 1740, 179 L. Ed. 2d 742 (2011).

                  Courts nationwide, repeatedly have granted motions to compel arbitration by

Citibank based on its Arbitration Agreement. See Yaqub v. Experian Info. Solutions, Inc., No.

CV 11-2190-VBF(FFMx), 2011 U.S. Dist. LEXIS 156427, at *16 (C.D. Cal. June 10, 2011);

Cayanan v. Citi Holdings, Inc., 928 F. Supp. 2d 1182, 1198-99 (S.D. Cal. 2013); Drozdowski v.

Citibank, Inc., No. 2:15-cv-2786-STA-cgc, 2016 WL 4544543, at *9-10 (W.D. Ten. Aug. 31,

2016); McCormick v. Citibank, NA, No. 15-CV-46-JTC, 2016 WL 107911, at *4-6 (W.D.N.Y.

Jan. 8, 2016); Carr v. Citibank, N.A., No. 15-CV-6993 (SAS), 2015 WL 9598797, at *3

(S.D.N.Y. Dec. 23, 2015); Clookey v. Citibank, N.A., No. 8:14-CV-1318, 2015 WL 8484514, at

                                                                                       TOMASI SALYER MARTIN
Page 2 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                         Attorneys at Law
CITI-L20\00442442.000                                                               121 SW Morrison Street, Suite 1850
                                                                                         Portland, Oregon 97204
                                                                                        Telephone: (503) 894-9900
                                                                                        Facsimile: (971) 544-7236
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*3-4 (N.D.N.Y. Dec. 9, 2015); Snow v. Citibank, N.A., No. 5:14-CV-59-FL, 2015 WL 799543, at

*5-6 (E.D.N.C. Feb. 25, 2015); Coppock v. Citigroup, Inc., No. C11-1984-JCC, 2013 WL

1192632 (W.D. Wash. Mar. 22, 2013); Ackerberg v. Citicorp USA, Inc., 898 F. Supp. 2d 1172,

1177 (N.D. Cal. 2012); Daugherty v. Experian Info. Sols., Inc., 847 F. Supp. 2d 1189, 1194-97

(N.D. Cal. 2012); Safadi v. Citibank, N.A., No. 12–1356 PSG, 2012 WL 4717875, at *3-5 (N.D.

Cal. Oct. 2, 2012); Guerrero v. Equifax Credit Info. Servs., Inc., No. CV 11-6555 PSG (PLAx),

2012 WL 7683512 (C.D. Cal. Feb. 24, 2012); Conroy v. Citibank, N.A., No. CV 10-04930 SVW

(AJWx), 2011 WL 10503532, at *4-5 (C.D. Cal. Jul. 22, 2011).

                  Accordingly, the Motion should be granted, and the action should be stayed

pursuant to Section 3 of the FAA pending completion of the arbitration.

II.        FACTUAL BACKGROUND

           A.     Plaintiff's Accounts And The Arbitration Agreement
                  Plaintiff is the holder of two Citibank credit card accounts: (1) a Sears account

currently ending in 5418 issued on or about March 9, 2015 (the "Sears Account"); and (2) a

Costco account currently ending in 6373 issued on or about February 2, 2013 (the "6373

Account") (collectively the "Accounts"). (See Declaration of Andrew Grayot ("Grayot Decl."),

¶ 4; Declaration of Kelly Booth (the "Booth Decl."), ¶ 4.) The Accounts are subject to written

terms and conditions that are reflected in a Card Agreement, as amended from time to time, and

the Card Agreement for each account include the Arbitration Agreement. (Grayot Decl., ¶¶ 4-

12; Booth Decl., ¶¶ 4-11.)

                  1.     The Sears Account
                  The Card Agreement provided to Plaintiff when she opened the Sears Account in

or about March 9, 2015, contains an arbitration agreement. (Grayot Decl., ¶ 6, Ex. 1.) Based on

Citibank's records, Plaintiff used the Account after it was opened. (Id. ¶ 7, Ex. 2.)

                  In or about November 2015, Citibank mailed to Plaintiff a "Notice of Change In

Terms and Right to Opt Out" ("2016 Change-In-Terms Notice"), as well as a "Important

                                                                                           TOMASI SALYER MARTIN
Page 3 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                             Attorneys at Law
CITI-L20\00442442.000                                                                   121 SW Morrison Street, Suite 1850
                                                                                             Portland, Oregon 97204
                                                                                            Telephone: (503) 894-9900
                                                                                            Facsimile: (971) 544-7236
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Changes to Your Account Terms" and a new Card Agreement (the "New Card Agreement") for

the Sears Account.       (Id. ¶ 8, Ex. 3.)   The New Card Agreement contains the Arbitration

Agreement. (Id.) The 2016 Change-In-Terms Notice states: "We are changing your Card

Agreement by replacing it with a new one." (Id. ¶ 9.) The effective date of this change as

provided in the 2016 Change-In-Terms Notice was February 8, 2016. (Id.) As discussed and

instructed in the 2016 Change-In-Terms Notice, Plaintiff was given the right to reject the

Arbitration Agreement contained in the New Card Agreement. (Id. ¶ 11, Ex. 3.) Plaintiff did not

reject the Arbitration Agreement. (Id. ¶ 12.)

                  2.     The Costco Account
                  Like the Sears Account, the Costco Account is subject to the Arbitration

Agreement. The Costco Account was acquired by Citibank from American Express Bank, FSB

in June 2016; Citibank is the issuer of the Costco Account. (Booth Decl., ¶¶ 4-6.) On or about

April 18, 2016, Citibank mailed to Plaintiff the new Card Agreement for the Costco Account (the

"New Card Agreement"), along with a cover letter ("Cover Letter"). (Id. ¶ 7, Ex. 1.) The New

Card Agreement also contains the Arbitration Agreement. (Id.) The Cover Letter instructed

Plaintiff that the New Card Agreement would become effective June 20, 2016. (Id.) As

discussed and instructed in the Cover Letter and the New Card Agreement, Plaintiff was given

the right to reject the Arbitration Agreement. (Id. ¶ 9, Ex. 1.) Plaintiff did not reject the
Arbitration Agreement and, instead, Plaintiff used the Costco Account after the new Card

Agreement was mailed. (Id. ¶¶ 10-11, Ex. 2.)

                  3.     The Arbitration Agreement
                  The Arbitration Agreement states, in pertinent part, that either party may elect

mandatory binding arbitration as follows:

                                          ARBITRATION
                  PLEASE READ THIS PROVISION OF THE AGREEMENT
                  CAREFULLY.
                  This section provides that disputes may be resolved by binding
                                                                                       TOMASI SALYER MARTIN
Page 4 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                         Attorneys at Law
CITI-L20\00442442.000                                                               121 SW Morrison Street, Suite 1850
                                                                                         Portland, Oregon 97204
                                                                                        Telephone: (503) 894-9900
                                                                                        Facsimile: (971) 544-7236
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                   arbitration. Arbitration replaces the right to go to court, have a
                   jury trial or initiate or participate in a class action. In arbitration,
                   disputes are resolved by an arbitrator, not a judge or jury.
                   Arbitration procedures are simpler and more limited than in court.
                   This arbitration provision is governed by the federal arbitration act
                   (FAA), and shall be interpreted in the broadest way the law will
                   allow.
                                               Covered Claims

           •       You or we may arbitrate any claim, dispute or controversy between
                   you and us arising out of or related to your account, a previous
                   related account, a previous related account or our relationship
                   (called "Claims").

           •       If arbitration is chosen by any party, neither you nor we will
                   have the right to litigate that Claim in court or have a jury
                   trial on that Claim.

                   Except as stated below, all Claims are subject to arbitration, no
                   matter what legal theory they're based on or what remedy
                   (damages, or injunctive or declaratory relief) they seek, including
                   Claims based on contract, tort (including intentional tort), fraud,
                   agency, your or our negligence, statutory or regulatory provisions,
                   or any other sources of law; Claims made as counterclaims, cross-
                   claims, thirty-party claims, interpleaders or otherwise; Claims
                   made regarding past, present, or future conduct; and Claims made
                   independently or with other claims. This also includes Claims
                   made by or against anyone connected with us or you or claiming
                   through us or you, or by someone making a claim through us or
                   you, such as a co-application, authorized user, employee, agent,
                   representative or an affiliated/parent/subsidiary company.

(See Booth Decl., Ex. 1 (emphasis in original); Grayot Decl., Ex. 3 (same).)

           B.      The Allegations Of The Complaint
                   Plaintiff alleges that, in or about July 2018, she received calls on her cellular

phone number from Citibank, relating "one or more alleged debts." (Compl. ¶¶ 10-15.) Plaintiff

alleges receiving calls through October 2018, including after requesting that Citibank stop

calling. (Compl. ¶¶ 15-23.) Based on the foregoing, Plaintiff asserts claims for violation of

violation of the TCPA, violation of OFDCPA, Or. Rev. Stat. § 646.639, et seq., and intrusion

upon seclusion. (Id. ¶¶ 28-38.) Plaintiff seeks statutory damages, actual damages, attorneys' and

                                                                                                 TOMASI SALYER MARTIN
Page 5 -       DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                                Attorneys at Law
CITI-L20\00442442.000                                                                         121 SW Morrison Street, Suite 1850
                                                                                                   Portland, Oregon 97204
                                                                                                  Telephone: (503) 894-9900
                                                                                                  Facsimile: (971) 544-7236
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costs. (Compl., p. 7.)

III.       ARGUMENT

           A.     Plaintiff's Claims Are Subject To Binding Arbitration Pursuant To The

                  Arbitration Agreement Governing The Account.

                  1.     Under The FAA, This Court Must Compel Arbitration Pursuant To

                         The Express Terms Of The Arbitration Agreement.
                  Section 2 of the FAA mandates that binding arbitration agreements in contracts

"evidencing a transaction involving [interstate] commerce . . . shall be valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract." 9 U.S.C. § 2; see Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443, 126

S. Ct. 1204, 163 L. Ed. 2d 1038 (2006) ("Section 2 [of the FAA] embodies the national policy

favoring arbitration and places arbitration agreements on equal footing with all other contracts.").

The United States Supreme Court has made clear that the FAA is extremely broad and applies to

any transaction directly or indirectly affecting interstate commerce. See, e.g., Allied-Bruce

Terminix Cos., Inc. v. Dobson, 513 U.S. 265, 277, 115 S. Ct. 834, 130 L. Ed. 2d 753 (1995);

Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 401, 87 S. Ct. 1801, 18 L. Ed. 2d

1270 (1967). 1

                  The FAA promotes a "liberal federal policy favoring arbitration agreements," and
"questions of arbitrability must be addressed with a healthy regard for the federal policy favoring

arbitration." Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 103 S. Ct. 927

(1983); see also Perry v. Thomas, 482 U.S. 483, 490, 107 S. Ct. 2520, 96 L. Ed. 2d 426 (1987)

(stating that arbitration agreements falling within the scope of the FAA "must be 'rigorously

enforce[d]'" (citations omitted)); Spencer v. Midland Funding LLC, No. 3:16-CV-00093-BR,


1
  Here, there is no question that the FAA applies to this dispute because the credit card transactions at
issue were made between Plaintiff, who resides in Oregon (Compl., ¶ 6), and Citibank, a national bank
located in Sioux Falls, South Dakota. (Compl., ¶ 7; Booth Decl., ¶ 1.) The Arbitration Agreement
explicitly states that "[t]his arbitration provision is governed by the [FAA]." (Booth Decl., Ex. 1.)
                                                                                            TOMASI SALYER MARTIN
Page 6 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                              Attorneys at Law
CITI-L20\00442442.000                                                                    121 SW Morrison Street, Suite 1850
                                                                                              Portland, Oregon 97204
                                                                                             Telephone: (503) 894-9900
                                                                                             Facsimile: (971) 544-7236
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2016 WL 8677216, at *7 (D. Or. Oct. 21, 2016) (upholding an arbitration provision in a card

agreement and ordering plaintiff to pursue her claims individually); Barrer v. Chase Bank, USA,

N.A., No. CV06-415 HU, 2007 WL 1072133, at *6 (D. Or. Jan. 23, 2007). "[A]ny doubts

concerning the scope of arbitrable issues should be resolved in favor of arbitration." Moses H.

Cone Mem'l Hosp., 460 U.S. at 24-25; see also Perry, 482 U.S. at 490 (stating that arbitration

agreements falling within the scope of the FAA "must be 'rigorously enforce[d]'") (citations

omitted).

                  The United States Supreme Court has consistently confirmed that the FAA

"requires courts to enforce the bargain of the parties to arbitrate" and "leaves no place for the

exercise of discretion by a district court, but instead mandates that district courts shall direct the

parties to proceed to arbitration on issues as to which an arbitration agreement has been signed."

KPMG LLP v. Cocchi, 132 S. Ct. 23, 25-26, 181 L. Ed. 2d 323 (2011) (per curiam) (citations

omitted; emphasis in original); see also Am. Express Co. v. Italian Colors Rest., 133 S. Ct. 2304,

2309, 186 L. Ed. 2d 417 (2013) (stating that "courts must 'rigorously enforce' arbitration

agreements according to their terms") (citations omitted); Concepcion, 563 U.S. at 344

(confirming that the "'principal purpose' of the FAA is to 'ensur[e] that private arbitration

agreements are enforced according to their terms.'"); see also Marmet Health Care Ctr., Inc. v.

Brown, 132 S. Ct. 1201, 1203, 182 L. Ed. 2d 42 (2012); CompuCredit Corp. v. Greenwood, 132

S. Ct. 665, 669, 181 L. Ed. 2d 586 (2012); see also Coneff v. AT&T Corp., 673 F.3d 1155, 1159

(9th Cir. 2012); Kilgore v. KeyBank, N.A., 673 F.3d 947, 960-61 (9th Cir. 2012).

                  Under the FAA, arbitration must be compelled where, as in this case: (1) a valid,

enforceable agreement to arbitrate exists; and (2) the claims at issue fall within the scope of that

agreement. See Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir.

2000). 2    The party resisting arbitration bears the burden of showing that the arbitration


2
  The FAA preempts any state law impediments to enforcing arbitration agreements according to their
terms, even under the guise of generally applicable contract principles. See Concepcion, 563 U.S. at 350-
52 (states may not superimpose judicial procedures on arbitration); id. at 341 ("When state law prohibits
                                                                                            TOMASI SALYER MARTIN
Page 7 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                              Attorneys at Law
CITI-L20\00442442.000                                                                    121 SW Morrison Street, Suite 1850
                                                                                              Portland, Oregon 97204
                                                                                             Telephone: (503) 894-9900
                                                                                             Facsimile: (971) 544-7236
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agreement is invalid or does not encompass the claims at issue, a burden that cannot be met by

Plaintiff on the facts here. Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 92, 121 S. Ct.

513, 148 L. Ed. 2d 373 (2000). Indeed, the same Arbitration Agreement between Citibank and

its customers has been enforced by multiple courts, including this Court. See Drozdowski, 2016

WL 4544543, at *10 (enforcing Citibank Arbitration Agreement in TCPA case); McCormick,

2016 WL 107911, at *4-6 (same); Carr, 2015 WL 9598797, at *3 (same); Clookey, 2015 WL

8484514, at *3-4; Snow, 2015 WL 799543, at *5-6; Cayanan, 928 F. Supp. 2d at 1198-99;

Coppock, 2013 WL 1192632, at *10; Ackerberg, 898 F. Supp. 2d at 1177; Guerrero, 2012 WL

7683512, at *8; Daugherty, 847 F. Supp. 2d at 1194-97; Tractenberg v. Citigroup Inc., No. CIV-

A-10-3092, 2011 WL 6747429, at *1 (E.D. Pa. Dec. 22, 2011). The same conclusion should be

reached here.

                  2.     The Arbitration Agreement Is Valid And Enforceable.
                  The Card Agreement is expressly governed by South Dakota law. 3 While the

FAA exclusively governs the enforceability of Plaintiff's Arbitration Agreement according to its

terms, South Dakota law governs the determination of whether a valid agreement to arbitrate

outright the arbitration of a particular type of claim, the analysis is straightforward: The conflicting rule
is displaced by the FAA.") (citing Preston v. Ferrer, 552 U.S. 346, 353, 128 S. Ct. 978, 169 L. Ed. 2d 917
(2008)); Stolt-Nielsen S. A. v. AnimalFeeds Int'l Corp., 559 U.S. 662, 683, 130 S. Ct. 1758, 176 L. Ed. 2d
605 (2010) ("[P]arties are 'generally free to structure their arbitration agreements as they see fit.'"); see
also Southland Corp. v. Keating, 465 U.S. 1, 16, 104 S. Ct. 852, 79 L. Ed. 2d 1 (1984) (striking down
California law that sought to insulate certain issues from arbitration).
3
  "In a federal question action where the federal court is exercising supplemental jurisdiction over state
claims, the federal court applies the choice-of-law rules of the forum state." Paracor Fin., Inc. v. Gen.
Elec. Capital Corp., 96 F.3d 1151, 1164 (9th Cir. 1996). Or. Rev. Stat. § 15.350(1) provides that "the
contractual rights and duties of the parties are governed by the law or laws that the parties have chosen."
To satisfy Or. Rev. Stat. § 15.350, "a contractual choice-of-law provision [must] be express and clear, and
it [must satisfy] the additional requirement that it be conspicuous when part of a standard form contract
drafted by one of the parties[.]" Powell v. Sys. Transp., Inc., 83 F. Supp. 3d 1016, 1023 (D. Or. 2015).
Here, the Card Agreement satisfies the requirements of Or. Rev. Stat. § 15.350, as it clearly provides that
"[f]ederal law and the law of South Dakota govern the terms and conditions of this Agreement," and the
choice-of-law provision is conspicuous, appearing under its own heading with bold typeface. See Booth
Decl., Ex. 1. See Pulse Techs., Inc. v. Dodrill, No. CV-07-65-ST, 2007 WL 789434, at *1 (D. Or. Mar.
14, 2007); Guerrero v. Equifax Credit Info. Servs., Inc., No. CV 11-6555 PSG (PLAx), 2012 WL
7683512 (C.D. Cal. Feb. 24, 2012).
                                                                                                TOMASI SALYER MARTIN
Page 8 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                                  Attorneys at Law
CITI-L20\00442442.000                                                                        121 SW Morrison Street, Suite 1850
                                                                                                  Portland, Oregon 97204
                                                                                                 Telephone: (503) 894-9900
                                                                                                 Facsimile: (971) 544-7236
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exists. See Drozdowski, 2016 WL 4544543, at *4 (enforcing South Dakota choice of law in

Citibank Card Agreement); Cayanan, 928 F. Supp. 2d at 1193-94 (holding that South Dakota

law applied under Citibank's choice of law provision and applicable choice of law test);

Ackerberg, 898 F. Supp. 2d at 1176-77 (same); Daugherty, 847 F. Supp. 2d at 1193-95 (same);

Guerrero, 2012 WL 7683512, at *8 (same); see also Dinsmore v. Piper Jaffray, Inc., 593

N.W.2d 41, 44, 1999 SD 56 (S.D. 1999) (noting that, "the question of whether the parties entered

into a valid agreement to arbitrate is a question for the court to determine applying state contract

law principles"); accord First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944, 115 S. Ct.

1920, 131 L. Ed. 2d 985 (1995) ("When deciding whether the parties agreed to arbitrate a certain

matter (including arbitrability), courts generally . . . should apply ordinary state-law principles

that govern the formation of contracts.").

                  Here, there is no dispute that Plaintiff opened and used the Accounts. Under

South Dakota law, Plaintiff's use of the Accounts constitutes her acceptance of the terms of the

Card Agreement, including the Arbitration Agreement. See S.D. Codified Laws § 54-11-9 ("use

of an accepted credit card or the issuance of a credit card agreement and the expiration of thirty

days from the date of issuance without written notice from a card holder to cancel the account

creates a binding contract between the card holder and the card issuer . . . ."). See, e.g.,

McCormick, 2016 WL 107911 at *4-6 (use of account constitutes assent to Arbitration
Agreement); Carr, 2015 WL 9598797, at *3; Clookey, 2015 WL 8484514, at *3-4; Snow, 2015

WL 799543, at *5-6; see also Cayanan, 928 F. Supp. 2d at 1199 (holding that under South

Dakota law "continued use of a credit [card] account" constitutes assent to arbitration);

Ackerberg, 898 F. Supp. 2d at 1176-77 (same); Ventura v. 1st Fin. Bank USA, No. C 03-4515 JF

(RS), 2005 WL 2406029, at *5 (N.D. Cal. Sept. 29, 2005) (noting that S.D.C.L. § 54-11-9

"expressly authorizes contract formation by an individual's use of a credit card"); Fedotov v.

Peter T. Roach & Assocs., P.C., No. 03 Civ. 8823(CSH), 2006 WL 692002, at *2 (S.D.N.Y.

Mar. 16, 2006) (under South Dakota law, plaintiff was bound by using cards after receiving card

                                                                                        TOMASI SALYER MARTIN
Page 9 -    DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                          Attorneys at Law
CITI-L20\00442442.000                                                                121 SW Morrison Street, Suite 1850
                                                                                          Portland, Oregon 97204
                                                                                         Telephone: (503) 894-9900
                                                                                         Facsimile: (971) 544-7236
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agreements).

                  South Dakota law also authorizes changes to credit card accounts in the manner

done here. See S.D. Codified Laws § 54-11-12 ("A credit card issuer may change the terms of

any credit card agreement if such right of amendment has been reserved."); see also Drozdowski,

2016 WL 4544543, at *5, n.48 (citing former S.D. Codified Laws § 54-11-10, and holding that

under South Dakota law, "credit card issuers were authorized to change the terms of their

existing credit card agreements by sending notices of the changed terms to cardholders"); Snow,

2015 WL 799543, at *5-6 (same); Coppock, 2013 WL 1192632, at *5, 10 (same).

                  Finally, South Dakota law, like federal law, strongly endorses arbitration. "If

there is doubt whether a case should be resolved by traditional judicial means or by arbitration,

arbitration will prevail." Rossi Fine Jewelers, Inc. v. Gunderson, 648 N.W.2d 812, 814, 2002

SD 82 (S.D. 2002) ("We have consistently favored the resolution of disputes by arbitration . . . .

There is an overriding policy favoring arbitration when a contract provides for it.") (citation

omitted).

                  Accordingly, under both the FAA and governing South Dakota law, the

Arbitration Agreement is binding on Plaintiff and must be enforced.

                  3.     The Arbitration Agreement Clearly Encompasses Plaintiff's Claims.
                  Where the parties have entered into a binding arbitration agreement, as in the
instant case, there is a presumption that any dispute between the parties is arbitrable. Moses H.

Cone Mem'l Hosp., 460 U.S. at 24-25. Therefore, an "order to arbitrate the particular grievance

should not be denied unless it may be said with positive assurance that the arbitration clause is

not susceptible of an interpretation that covers the asserted dispute." AT&T Techs., Inc. v.

Commc'ns Workers of Am., 475 U.S. 643, 650, 106 S. Ct. 1415, 89 L. Ed. 2d 648 (1986). "[A]ny

doubts concerning the scope of arbitrable issues should be resolved in favor of arbitration."

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626, 105 S. Ct. 3346,

87 L. Ed. 2d 444 (1985); see also Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 719 (9th Cir. 1999)

                                                                                      TOMASI SALYER MARTIN
Page 10 - DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                          Attorneys at Law
CITI-L20\00442442.000                                                              121 SW Morrison Street, Suite 1850
                                                                                        Portland, Oregon 97204
                                                                                       Telephone: (503) 894-9900
                                                                                       Facsimile: (971) 544-7236
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("The standard for demonstrating arbitrability is not high."). Where the clause is broad, as is the

Arbitration Agreement here, there is a heightened presumption of arbitrability such that, "'[in] the

absence of any express provision excluding a particular grievance from arbitration, we think only

the most forceful evidence of a purpose to exclude the claim from arbitration can prevail.'"

AT&T Techs., 475 U.S. at 650 (quoting United Steelworkers of Am. v. Warrior & Gulf

Navigation Co., 363 U.S. 574, 584-85, 80 S. Ct. 1347, 4 L. Ed. 2d 1409 (1960)). 4

                  Here, the Arbitration Agreement extends to "any claim, dispute or controversy

between you and us arising out of or related to your Account, a previous related account or our

relationship." (Grayot Decl., Ex. 3; Booth Decl., Ex. 1.) In addition, "all Claims are subject to

arbitration, no matter what legal theory they're based on or what remedy (damages, or injunctive

or declaratory relief) they seek, including Claims based on contract, tort (including intentional

tort), fraud, agency, your or our negligence, statutory or regulatory provisions, or any other

sources of law." (Id.) Plaintiff's claims plainly are covered by the Arbitration Agreement, as the

claims are premised upon calls placed by Citibank in an attempt to collect payment "on one or

more alleged debts." (Compl. ¶ 10.) These claims clearly relate to the Accounts and Plaintiff's

relationship with Citibank, i.e., but for the Accounts, there would be no "alleged debts" and no

need for calls to collect those "debts." Accordingly, the claims clearly fall within the Arbitration

Agreement's broad scope. See, e.g., Hicks v. Hsinternational Sports Mgmt., Inc., No. CIV. 09-

6185-HO, 2009 WL 3698132, at *4 (D. Or. Oct. 27, 2009) ("Because all of plaintiff's claims fall

within the agreement to arbitrate, the court must grant the motion to abate and compel

arbitration.").

4
  See also Ferguson v. Corinthian Colls., Inc., 733 F.3d 928, 938 (9th Cir. 2013) (holding that the terms
such as "any disputes," "all claims," and disputes "arising from my enrollment" are broad in scope);
Simula, Inc., 175 F.3d at 721 (holding that "language 'arising in connection with' reaches every dispute
between the parties having significant relationship to the contract and all disputes having their origin or
genesis in the contract"); Dennis L. Christensen Gen. Bldg. Contractor, Inc. v. Gen. Bldg. Contractor,
Inc., 952 F.2d 1073, 1077 (9th Cir. 1991), as amended on denial of reh'g (Dec. 18, 1991) (noting that
"presumption [of arbitrability] is particularly potent if the arbitration clause is broad.") (citation omitted);
see also Collins & Aikman Prods. Co. v. Bldg. Sys., Inc., 58 F.3d 16, 20 (2d Cir. 1995) (holding that,
where the clause is broad, "then there is a presumption that the claims are arbitrable").
                                                                                                  TOMASI SALYER MARTIN
Page 11 - DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                                      Attorneys at Law
CITI-L20\00442442.000                                                                          121 SW Morrison Street, Suite 1850
                                                                                                    Portland, Oregon 97204
                                                                                                   Telephone: (503) 894-9900
                                                                                                   Facsimile: (971) 544-7236
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                  Finally, Plaintiff's legal theory falls within the scope of the Arbitration

Agreement. Plaintiff's statutory claims are explicitly covered by the Arbitration Agreement,

which expressly includes all claims, not matter what legal theory is pursued, including statutory

claims. "It is by now clear that statutory claims may be the subject of an arbitration." Gilmer v.

Interstate/Johnson Lane Corp., 500 U.S. 20, 26, 111 S. Ct. 1647, 114 L. Ed. 2d 26 (1991); see

also Drozdowski, 2016 WL 4544543 at *8-9 (compelling statutory claims to arbitration under

Arbitration Agreement); McCormick, 2016 WL 107911 at *5-6 (same); Carr, 2015 WL

9598797, at *3; Snow, 2015 WL 799543, at *5-6 (same); Coppock, 2013 WL 1192632, at *5, 10

(same); Cayanan, 928 F. Supp. 2d at 1207-08 (same).

         B.       The Action Must Be Stayed Pending Arbitration.
                  Section 3 of the FAA expressly provides that, where a valid arbitration agreement

requires a dispute to be submitted to binding arbitration, the district court shall stay the action

"until such arbitration has been had in accordance with the terms of the agreement." 9 U.S.C. §

3; see Collins v. Burlington N. R. Co., 867 F.2d 542, 545 (9th Cir. 1989) (remanding case where

district court failed to consider whether a stay was appropriate as a result of binding arbitration

agreement); see also Balar Equip. Corp. v. VT Leeboy, Inc., 336 F. App'x. 688, 689 (9th Cir.

2009) (reversing decision with instructions to stay action pending completion of arbitration);

Kats v. Citibank, N.A., No. 2:12-CV-1607-ODW (JCx), 2012 WL 7683005, *1 (C.D. Cal. Apr.

17, 2012) (compelling arbitration and staying action); Lux v. Good Guys, No. SACV 05-300-CJC

ANX, 2005 WL 1713421, *2 (C.D. Cal. July 11, 2005) (granting motion to compel arbitration on

individual basis and staying entire action pending completion of arbitration).

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                                                                                        TOMASI SALYER MARTIN
Page 12 - DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                            Attorneys at Law
CITI-L20\00442442.000                                                                121 SW Morrison Street, Suite 1850
                                                                                          Portland, Oregon 97204
                                                                                         Telephone: (503) 894-9900
                                                                                         Facsimile: (971) 544-7236
         Case 3:18-cv-01960-BR          Document 13       Filed 02/01/19    Page 13 of 14




IV.      CONCLUSION
                  For the foregoing reasons, Citibank respectfully requests that the Court grant the

Motion and compel arbitration of Plaintiff's claims in accordance with the express terms of the
valid and enforceable Arbitration Agreement governing the Accounts. In addition, this Court

should stay this action pending completion of arbitration proceedings.

                  Dated: February 1, 2019.

                                                   TOMASI SALYER MARTIN



                                                   By: /s/ Eleanor A. DuBay
                                                        Eleanor A. DuBay, OSB #073755
                                                        (503) 894-9900
                                                        edubay@tomasilegal.com
                                                        Attorneys for Defendant Citibank, N.A.




                                                                                         TOMASI SALYER MARTIN
Page 13 - DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION                             Attorneys at Law
CITI-L20\00442442.000                                                                 121 SW Morrison Street, Suite 1850
                                                                                           Portland, Oregon 97204
                                                                                          Telephone: (503) 894-9900
                                                                                          Facsimile: (971) 544-7236
         Case 3:18-cv-01960-BR           Document 13       Filed 02/01/19    Page 14 of 14




                                   CERTIFICATE OF SERVICE
                  I hereby certify that on February 1, 2019, I electronically transmitted the attached

DEFENDANT'S MOTION TO COMPEL ARBITRATION AND STAY ACTION to the
Clerk's office using the CM/ECF System for filing and transmittal of a Notice of Electronic

Filing to the following CM/ECF registrants:
                  Sharon Cousineau
                  700 W Evergreen Blvd
                  Vancouver, WA 98660
                  sdcousineau@gmail.com
                         Attorney for Plaintiff


                  Dated: February 1, 2019.

                                                    TOMASI SALYER MARTIN



                                                    By: /s/ Eleanor A. DuBay
                                                         Eleanor A. DuBay, OSB #073755
                                                         (503) 894-9900
                                                         edubay@tomasilegal.com
                                                         Attorneys for Defendant Citibank, N.A.




                                                                                          TOMASI SALYER MARTIN
CERTIFICATE OF SERVICE                                                                          Attorneys at Law
CITI-L20\00442442.000                                                                  121 SW Morrison Street, Suite 1850
                                                                                            Portland, Oregon 97204
                                                                                           Telephone: (503) 894-9900
                                                                                           Facsimile: (971) 544-7236
